        Case 9:21-cr-00028-DLC Document 82 Filed 07/08/22 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

 UNITED STATES OF AMERICA,                           CR 21-28-M-DLC

             Plaintiff,

       vs.                                                  ORDER

TAUREAN JEROME WEBER,

              Defendant.



      Given the sexually explicit nature of most of the exhibits in this action, IT IS

ORDERED that any exhibits offered and admitted into evidence during trial of the

above-captioned matter shall not be filed in CM/ECF. The parties shall retain

copies of any admitted exhibits for purposes of appeal, if any.

      IT IS FURTHER ORDERED that any exhibits uploaded into JERS shall be

deleted following the conclusion oftrial.

      DATED this 8th day of July, 2022.
                                                A




                                         Dana L. Christensen, District Judge
                                         United States District Court




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